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JS-6

 

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

CASE NUMBER
Thomas Marcel Scott,

CV22-0140-RGK (JPRx)

y PLAINTIFF(S)

United States of America, et al.,

 

ORDER RE REQUEST TO PROCEED

IN FORMA PAUPERIS
DEFENDANT(S)

 

IT IS ORDERED that the Request to Proceed In Forma Pauperis is hereby GRANTED.

 

Date

 

United States Magistrate Judge

IT IS RECOMMENDED that the Request to Proceed In Forma Pauperis be DENIED for the following reason(s):

{-] Inadequate showing of indigency (-] District Court lacks jurisdiction

[7 Legally and/or factually patently frivolous [] Immunity as to

(] Other:

 

 

 

Comments: The Complaint is nonsensical and com aria daoid of specific
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1/1/2022. bur brer hhc

Date United States Magistrate Judge

 

IT IS ORDERED that the Request to Proceed In Forma Pauperis is hereby:
[.] GRANTED

DENIED (see comments above). IT IS FURTHER ORDERED that:

(_] Plaintiff SHALL PAY THE FILING FEES IN FULL within 30 days or this case will be dismissed.
This case is hereby DISMISSED immediately.

[_] This case is hereby REMANDED to state court.

January 14, 2022 d 0

Date

 

United States District Judge

CV-73 (08/16) ORDER RE REQUEST TO PROCEED IN FORMA PAUPERIS
